CRIMINAL CASE COVER SHEET U.S. ATTORNEY'S OFFICE

 

Place of Offense (City & County): Knoxville, Knox
Defendant Information:

Juvenile Yes_X No Matter to be Sealed: X Yes No

 

 

Defendant Name: CHINA GENERAL NUCLEAR POWER COMPANY a/k/a CHINA
GUANGDONG NUCLEAR POWER COMPANY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Interpreter: No Yes Y Language — Chinese (Mandarin)
Total # of Counts: 2 Petty Misdemeanor (Class ) X Felony
ORIGINAL Count(s)
U.S.C. Citation(s) and Description of Offense Charged
Set 1 42 U.S.C. §§ 2077(b) and 2272(a), Conspiracy to illegally develop |
special nuclear material outside the United States
Set 2
(Use tab key after entering counts to create additional rows)
SUPERSEDING INDICTMENT New count? | New Count Old
U.S.C. Citation(s) and Description of YorN # Count #
Offense Charged ( if
applicable)
Set 1
(Use tab key after entering counts to create additional rows)
Current Trial Date (if set): before Judge
Criminal Complaint Filed: No Yes Case No.
Related Case(s):
Case Number Defendant's attorney How related
Criminal Informations:
Pending criminal case: No Yes Case No.
New Separate Case Supersedes Pending Case
Name of defendant’s attorney:
Retained: Appointed:
Date: 4/5/16 Signature of AUSA: C-C- - Arm4

 

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